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         In the United States Court of Federal Claims
                                      No. 23-811C
                                  (Filed: June 15, 2023)


                                            )
 LARRY GOLDEN,                              )
                                            )
                     Plaintiff,             )
                                            )
          v.
                                            )
 THE UNITED STATES,                         )
                                            )
                     Defendant.             )
                                            )
                                            )
                                            )

                                        ORDER

       Pursuant to Rule 40.1(b) of the Rules of the United States Court of Federal Claims,
to promote the efficient administration of justice, and based on the agreement of both
judges, the Clerk is directed to transfer the above-captioned case to the Honorable Judge
Eric G. Bruggink.

      Accordingly, the Court hereby GRANTS Defendant’s motion to transfer the
above-captioned case to Judge Bruggink.

      IT IS SO ORDERED.

                                                s/Matthew H. Solomson
                                                Matthew H. Solomson
                                                Judge
